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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

CHICAGO WOMEN IN TRADES,

        Plaintiff,
                                            Case No. 1:25-cv-02005
v.
                                            Judge: Hon. Matthew F. Kennelly
PRESIDENT DONALD J. TRUMP,
DEPARTMENT OF LABOR, ACTING                 JURY TRIAL DEMANDED
SECRETARY OF LABOR VINCENT
MICONE, OFFICE OF MANAGEMENT
AND BUDGET, DIRECTOR OF THE
OFFICE OF MANAGEMENT AND
BUDGET RUSSELL VOUGHT, U.S.
DEPARTMENT OF JUSTICE, ATTORNEY
GENERAL OF THE U.S. DEPARTMENT OF
JUSTICE PAMELA BONDI,

        Defendants.




                     MEMORANDUM IN SUPPORT OF MOTION FOR
                        TEMPORARY RESTRAINING ORDER
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                                        INTRODUCTION
       At the March 12, 2025 hearing, the parties proposed a briefing schedule for a preliminary

injunction, subject to a request for modification should a change in circumstances occur. That

change has occurred.

       The current schedule for CWIT’s motion for preliminary injunction 1 was made in

consideration of a nationwide preliminary injunction entered by a district court in Maryland.

That injunction enjoined the provisions in the executive orders that CWIT challenges, Executive

Order Nos. 14151, Ending Radical and Wasteful Government DEI Programs and Preferencing

(“J20 EO”) and 14173, Ending Illegal Discrimination and Restoring Merit-Based Opportunity

(“J21 EO”) (collectively, the “anti-diversity EOs”). Nat’l Ass’n of Diversity Officers in Higher

Educ. v. Trump, 2025 WL 573764 (D. Md. Feb. 21, 2025). While CWIT was and is entitled to a

preliminary injunction, the Maryland district court’s nationwide injunction forestalled the

immediate urgency that CWIT faced, including the government’s decision to take adverse action

against CWIT and its grants.

       On March 14, 2025, however, the Fourth Circuit granted the government’s motion to stay

the Maryland court’s nationwide injunction. Nat’l Ass’n of Diversity Officers in Higher Educ.,

No. 25-1189 (4th Cir. Mar. 14, 2025). Without an injunction in place, CWIT now faces an

imminent, urgent harm, which is irreparable.

       Prior to the nationwide injunction, the Department of Labor (“DOL”) had already

instructed CWIT to cease all “activities related to ‘diversity, equity, and inclusion’ (DEI) or

‘diversity, equity, inclusion, and accessibility’ (DEIA)” under its grants (without any

consideration of whether that programming was “illegal”). Now that the preliminary injunction


1
 Defendants’ response is due April 18, 2025, and CWIT’s reply is due May 2, 2025. See Min.
Entry, ECF No. 38.


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has been lifted, DOL assuredly will take the opportunity afforded by the Fourth Circuit to take

action against CWIT, including the termination of its grants. The J20 EO has a March 21, 2025

deadline, which requires that agencies terminate “all ‘equity action plans,’ ‘equity’ actions,

initiatives, or programs, ‘equity-related’ grants or contracts” within sixty days of the J20 EO. See

J20 EO § 2(b)(i). This is without regard to the steps DOL has already taken, including the request

that CWIT cease all diversity, equity, inclusion and accessibility activities. Moreover, even after

the nationwide injunction issued, an entity from which CWIT receives federal grant money as a

sub-recipient, instructed CWIT to scrub all diversity, equity, and inclusion initiatives and related

language from its programming, purportedly at DOL’s direction. The entity has threatened to cut

off the funding if its request is not heeded.

       Requiring CWIT to change what they say, what they do and who they are to avoid

termination violates CWIT’s First and Fifth Amendment rights. The immediate result of the anti-

diversity EOs is chilled speech. The harms to CWIT, as well as any other recipient of federal

funding that have programs that could arguably be described as promoting “DEI,” are deep and

irreparable.

       Accordingly, CWIT returns to this Court to request a temporary restraining order to

enjoin the government, including Defendants, as well as other federal executive branch agencies,

departments, and commissions, and their heads, officers, agents, subdivisions, contractors, and

grant recipients from taking adverse action against CWIT or any other recipient of federal

funding based on activities or programs claimed to be covered by the anti-diversity EOs, either

as a direct grant recipient or as a sub-recipient. Plaintiff requests that the injunction remain in

place until such time this Court renders a decision on Plaintiff’s motion for preliminary

injunction. In the alternative, CWIT requests that the Court issue a temporary restraining order to




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enjoin the Defendants from taking adverse action against CWIT, either as a direct grant recipient

or as a sub-recipient, while its motion for preliminary injunction is pending. Finally, CWIT

respectfully requests that the briefing on the preliminary injunction be accelerated and

adjudicated during the pendency of this Court’s TRO.

                           ADDITIONAL FACTUAL BACKGROUND
          As detailed in CWIT’s motion for preliminary injunction, CWIT is a non-profit

organization that prepares women across the country to enter and remain in high-wage skilled

trades (e.g., carpentry, electrical work, welding, and plumbing) which are plagued by

longstanding race and gender-based discrimination and occupational segregation. Declaration of

Jayne Vellinga, filed March 5, 2025 in support of motion for preliminary injunction, Dkt. No. 26-

9 (“PI Vellinga Decl.”) ¶¶ 1, 3, 6-9. As a recipient of multiple federal grants, subawards, and

subcontracts, CWIT provides pre-apprentice training programs, best practices guides, employer

resources, and advocacy to attract and retain women in skilled trades, a significant portion of

which reaches all 50 states. See id. ¶¶ 3, 10-12, 14-15, 34.

          A.     Immediately after the President issued the anti-diversity EOs, DOL and
                 other federal agencies took steps to implement them.

          Within days of the issuance of the anti-diversity EOs, CWIT received communications

separately from the DOL and a pass-through entity from which CWIT has a subaward, 2

regarding CWIT’s grants. PI Vellinga Decl. ¶¶ 39-46. Those communications instructed CWIT to

remove all references to DEI and DEIA from the programs it was administering. Id.

          As CWIT explained in its Complaint and Motion for Preliminary Injunction, the anti-

diversity EOs provide no definition for “diversity,” equity,” or “inclusion,” or any guidance as to

what makes DEI or DEI-programming “illegal.” Plaintiff’s Complaint for Declaration and


2
    See 2 C.F.R. § 200.200.1 at “Pass-through entity,” “Subaward,” and “Subrecipient.”


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Injunctive Relief, Dkt. No. 1 (“Complaint”) ¶¶ 134-134; Plaintiff’s Memorandum in Support of

Motion for Preliminary Injunction, Dkt. No. 26 (“Plaintiff’s PI Memo”) 1, 2, 3-4, 8-9. The

instructions CWIT has received to date from DOL and one of CWIT’s pass-through entities are

similarly opaque. They simply state that the J20 and J21 EOs required the cessation of all grant

activity related to DEI and DEIA. PI Vellinga Decl. ¶¶ 39-46. The communications from DOL

and Illinois Department of Labor (“IDOL”) also informed CWIT that DEI activities would be

considered unallowable, meaning that any “DEI” work would not be paid after the date of the

letter. Id. ¶¶ 40-41.

        Other federal agencies followed suit, both in direction and opacity. For example, on

February 5, 2025, the Attorney General instructed the Department of Justice to confirm by March

15, 2025 the “termination, to the maximum extent allowed by law, … [of] all ‘equity-related’

grants or contracts” and to “pay particular attention to ending references to DEI and DEIA . . .

including references to ‘unconscious bias,’ ‘cultural sensitivity,’ [and] ‘inclusive leadership.’” 3

DOJ is not alone. 4

        Neither DOL nor any other federal agency cite to any antidiscrimination laws being

violated or provide any information to determine how the federal agencies are or will interpret

those things the EOs bar. The government may claim that the EOs are intended to implement




3
  Office of the Attorney General, Memorandum for All Department of Justice Employees:
Eliminating Internal Discriminatory Practices, February 5, 2005,
https://www.justice.gov/ag/media/1388556/dl?inline.
4
  See U.S. Department of Education, U.S. Department of Education Takes Action to Eliminate
DEI, January 23, 2025, https://www.ed.gov/about/news/press-release/us-department-of-
education-takes-action-eliminate-dei (“The U.S. Department of Education has taken action to
eliminate harmful Diversity, Equity, and Inclusion (DEI) initiatives, including references to them
in public-facing communication channels and its associated workforce. These actions are in line
with President Trump’s ongoing commitment to end illegal discrimination and wasteful spending
across the federal government.”).


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antidiscrimination laws, but the implementation reflects that is not so. CWIT is being asked to

terminate programs that do not violate antidiscrimination laws. Rather, these are programs that

seek to help women and that seems to be enough to draw the government’s ire, but without

explanation. See Supplemental Declaration of Jayne Vellinga, filed concurrently, in support of

temporary restraining order (“Suppl. Vellinga Decl.”) ¶¶ 15-16. This indiscriminate

implementation of the anti-diversity EOs illustrates the failure of federal agencies to determine if

CWIT’s (and other organizations’) activities violate antidiscrimination laws.

       Without clarity on what DEI means, CWIT does not know how or even whether it can

ever comply with the notices it has received. As an organization devoted to equal opportunity for

women in the skilled trades, the anti-diversity EOs are a threat not only to CWIT’s mission, but

to its organizational existence. CWIT’s activities do not violate any law, yet, under the anti-

diversity EOs, the entire purpose of CWIT’s work is under attack. As such, even though CWIT’s

activities were expressly approved by the government when the grants were awarded, the

government could now deem those very same activities to be “illegal DEI.”

       B.      The lack of clarity surrounding “illegal” diversity, equity, and inclusion
               continues.

       Nothing that the administration or DOL has done since the anti-diversity EOs were issued

indicates either will make any attempt to narrowly or consistently define what it means by

diversity, equity, inclusion, and accessibility programs or to explain which CWIT activities are

acceptable and which are not. The J20 EO declares any programs advancing diversity, equity,

and inclusion “illegal and immoral discrimination.” J20 EO § 1. The J21 EO calls them

“dangerous, demeaning, and immoral.” J21 EO § 1. Consistent with those characterizations, on

March 7, 2025, the New York Times identified 199 words that were being removed from




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government websites. 5 The words removed include “female,” “women,” advocate,” “barriers,”

and “underrepresented.” All words core to CWIT’s mission. Consistent with this broad and

ambiguous scope of “DEI,” news media reported that Arlington National Cemetery scrubbed

from its website internal links that directed users to webpages about Black, Hispanic and female

service members. 6

       It is in this environment that CWIT operates as an entity focused on diversity, equity, and

inclusion, under constant threat of grant termination. And the result is chilled speech. For

example, in the last two weeks, one of the pass-through entities for whom CWIT is a sub-

recipient instructed CWIT to remove all references to DEI from its training materials. Suppl.

Vellinga Decl. ¶ 15. In making this demand, the pass-through entity explained that its contract

from the government was modified to eliminate all references to DEI language. Id. ¶¶ 14, 15.

       Furthermore, the pass-through entity rejected CWIT’s proposed training materials that

used the words “Diversity and Equity” in the title, though the materials did not otherwise

mention diversity, equity, or inclusion. Id. ¶ 14.




5
  The New York Times, These Words Are Disappearing in the New Trump Administration, March
7, 2025, https://www.nytimes.com/interactive/2025/03/07/us/trump-federal-agencies-websites-
words-dei.html.
6
  BBC News, Arlington Cemetery strips content on black and female veterans from website,
March 15, 2025, https://www.bbc.com/news/articles/cz03gjnxe25o. See also MSNBC, Trump’s
anti-diversity push comes for Arlington Cemetery’s rich, diverse history, March 15, 2025,
https://www.msnbc.com/top-stories/latest/arlington-cemetery-black-veterans-women-history-
website-dei-trump-rcna196586 (“Among the pages that have disappeared from the cemetery’s
website include links on the graves of prominent minority veterans, as well as educational pages
on the Civil War, African American history and women’s history. Some of the information has
been removed outright, while others were placed under categories that do not mention race or
gender.”).


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                                           ARGUMENT

I.       LEGAL STANDARD

         The standard for issuing a temporary restraining order is the same standard that applies

for the issuance of a preliminary injunction. Mays v. Dart, 453 F. Supp. 3d 1074, 1087 (N.D. Ill.

2020). First, the moving party must show irreparable harm, the inadequacy of a legal remedy,

and some likelihood of success on the merits. Id. Once that threshold is met, the court proceeds

to weigh whether the balance of harms favors the moving party or whether the harm to the other

party and the public interest outweighs the moving party’s interest. Id.; see also Plaintiff’s PI

Memo. 7.

II.      CWIT AND OTHER RECIPIENTS OF FEDERAL FUNDING WILL BE
         IRREPARABLY HARMED IN THE ABSENCE OF AN INJUNCTION

         With the nationwide preliminary injunction lifted by the Fourth Circuit, the EOs are back

into effect. By its terms, the J20 EO results in the termination of the grants of CWIT’s and other

recipients, if they are deemed to be “DEI” grants, by no later than March 21. See J20 EO §

2(b)(i). In addition, any future grants awarded by federal agencies must include a term that

requires entities to certify, under threat of False Claims Act liability, that they do not operate

programs promoting diversity, equity, and inclusion “that violate any applicable Federal anti-

discrimination laws,” absent any indication what diversity, equity, and inclusion programs might

encompass. See J21 EO § 3(b)(iv)(A).

         A.     The anti-diversity EOs are violating the First Amendment, chilling speech
                and causing Constitutional harm.

         The Complaint asserts multiple violations of the First Amendment: Count I pleads

“Overbreadth and Vagueness;” and Count II pleads “Viewpoint Discrimination;” because the

anti-diversity EOs are punishing and suppressing speech concerning diversity, equity and




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inclusion, these issues are ripe for this Court’s consideration, and require immediate injunctive

relief.

                 1.      Overbreadth and Vagueness
          Actions like the anti-diversity EOs not only violate the First Amendment because they are

viewpoint specific. They are also unconstitutionally overbroad in at least two distinct ways. The

first is usually referred to as vagueness. Brown v. Kemp, 86 F.4th 745, 781 (7th Cir. 2023). Vague

rules are overbroad because their scope is uncertain and because they tend to produce large

chilling effects. Id. (citing NAACP v. Button, 371 U.S. 415, 432-33 (1963)). The part of

overbreadth doctrine concerned with vagueness is “predicated on the danger that an overly broad

statute, if left in place, may cause persons whose expression is constitutionally protected to

refrain from exercising their rights for fear of . . . sanctions.” Id. (quoting Massachusetts v.

Oakes, 491 U.S. 576, 581 (1989)).

          Actions like the anti-diversity EOs can also be overbroad in a second, distinct sense: not

because their scope is vague, but because the conduct they prohibit consists mostly of

constitutionally protected activities. Id. These sorts of actions are overbroad even in the absence

of vagueness and resulting chilling effects. Id. (citing Oakes, 491 U.S. at 587-88 (Scalia, J.,

concurring) (writing for a majority and holding that even if later narrowing of statute by

amendment eliminated all chilling effects, it “does not eliminate the defense of overbreadth”).

          The anti-diversity EOs are both vague and overbroad on their face. They do not define

any of the words and phrases that are prohibited but rather lump them all into “illegal DEI.” Yet,

it simply cannot be that all efforts to promote diversity, equity and inclusion are illegal. No court

has so ruled. No statute says that. As a result, the anti-diversity EOs prohibit conduct and speech

most of which is not only not legal but constitutionally protected.




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       Moreover because they are overbroad, the EOs “raise[] special First Amendment

concerns because of [their] obvious chilling effect on free speech.” Reno v. Am. C.L. Union, 521

U.S. 844, 871-72 (1997). They (1) “fail[] to provide people of ordinary intelligence a reasonable

opportunity to understand what conduct [they] prohibit[]” and (2) they “authorize[] or even

encourage[] arbitrary and discriminatory enforcement.” Hill v. Colorado, 530 U.S. 703, 732

(2000). “The lack of specificity is not cured here by any meaningful guidance from enforcement

authorities….” Brown, 86 F.4th at 773. The vague language also allows for arbitrary and

discriminatory enforcement, chilling plaintiffs who are reasonably concerned about over-

enforcement. As the Seventh Circuit has made clear, “[t]he lack of objective criteria means that

enforcement authorities, like individual citizens, cannot know when the line between lawful and

unlawful conduct has been crossed. Id. at 774.

       Finally, CWIT’s constitutional claims are ripe. “First Amendment rights . . . are

particularly apt to be found ripe for immediate protection, because of the fear of irretrievable

loss. In a wide variety of settings, courts have found First Amendment claims ripe, often

commenting directly on the special need to protect against any inhibiting chill.” Cooksey v.

Futrell, 721 F.3d 226, 240 (4th Cir. 2013) (quoting New Mexicans for Bill Richardson v.

Gonzales, 64 F.3d 1495, 1500 (10th Cir. 1995) (omission in original); Wisconsin Right to Life

State Pol. Action Comm. v. Barland, 664 F.3d 139, 148 (7th Cir. 2011) (“purely legal issues are

normally fit for judicial decision” and “in challenges to laws that chill protected speech, the

hardship of postponing judicial review weighs heavily in favor of hearing the case.”). Here,

CWIT and other federal funding recipients have been required to self-censor the description of

what they are and what they do; the chilling effect is real and leaves open to question CWIT’s

(and other recipients’) very existence due to the EOs overbreadth and vagueness. The case is ripe




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because the constitutional injuries has already been inflicted and will continue absent immediate

injunctive relief.

          CWIT and other federal funding recipients are suffering ongoing violations of their

constitutional rights today. There is no need to wait until its grants are, or are not, terminated.

This is clear given that even if the grants are never terminated, but the EOs remain in place,

CWIT’s and other recipients right to free speech will remain chilled. The fact that CWIT and

other recipients cannot today describe what they stand for without running afoul of the anti-

diversity EOs violates the Constitution and demonstrates the need for immediate injunctive

relief.

                 2.     Viewpoint Discrimination
          As pled in the Complaint, the anti-diversity EOs are viewpoint-specific and therefore

violate the First Amendment. Dkt. No. 1, Complaint ¶¶ 110-119; see also Plaintiff’s PI Memo.

10. A speech regulation is viewpoint-specific when it goes beyond general discrimination against

speech about a specific topic and instead regulates one perspective of speech. Brown, 86 F.4th at

774 (citing Rosenberger v. Rector & Visitors of Univ. of Virginia, 515 U.S. 819, 829-31 (1995)).

Viewpoint specific regulations are considered to be particularly pernicious because “[a]t the heart

of the First Amendment’s Free Speech Clause is the recognition that viewpoint discrimination is

uniquely harmful to a free and democratic society.” Nat’l Rifle Ass’n of Am. v. Vullo, 602 U.S.

175, 187 (2024); see also Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67 (1963) (noting that a

government entity’s “threat of invoking legal sanctions and other means of coercion” in order “to

achieve the suppression” of disfavored speech violates the First Amendment).

          But this is exactly what the anti-diversity EOs seek to accomplish. There can be no

question but that the anti-diversity EOs are viewpoint-specific. They seek to suppress those

viewpoints that favor of diversity, equity and inclusion, thereby violating the First Amendment.


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Indeed, CWIT is being required to self-censor its message of dismantling race and gender-based

structural barriers to recruiting women in the skilled trades, under threat of losing funding if it

does not remove all references to DEI from its training materials. The Executive Branch of

Government cannot punish CWIT for espousing viewpoints with which the Administration

disagrees. This is precisely the type of viewpoint-based coercion that the First Amendment

prohibits.

       B.      When the government terminates grants pursuant to the EOs, the harm to
               recipients would be immediate and irreparable.

       Even though the funding for CWIT’s grants at issue have been duly authorized by

Congress via statute, and the grant award approved by DOL, the government can and will

terminate CWIT’s grants by March 21, 2025 while the motion for preliminary injunction is

pending, as directed by the EOs. The additional and resulting harm to CWIT upon the pending

termination would be immediate and profound. Suppl. Vellinga Decl. ¶¶ 18-49.

       For example, CWIT would not be reimbursed for approximately $460,000 of

expenditures that it has spent for the programs that are funded by its federal grants and contract.

Id. ¶ 18. This funding loss, including both expected funding and reimbursement of expenses

CWIT that has already incurred on the government’s behalf, would result the following: (a)

layoffs of three full-time staff; (b) stopping CWIT’s trade-specific apprenticeship programs,

conducted in partnership with skill-specific union apprenticeship programs and for which

admittance is otherwise notoriously difficult; (c) stopping CWIT’s critical funding for support

services which provide stipends to cover childcare, transportation and union initiation fees for

CWIT participants who are generally low-income; and (d) modifying CWIT’s training and

technical assistance work, in which CWIT works with new tradeswomen organizations, develops

mentorship cohorts outside of Illinois, and provides training to industry stakeholders, effectively



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eliminating CWIT’s national presence. Id. ¶¶ 30-49. The cuts to funding would necessitate

implementing a fee model that many new tradeswomen or newly formed unions would be unable

to afford and would also require that CWIT end its highly sought-after individualized training.

Id. ¶¶ 30, 47-48. There is no legal remedy that would undo all of these harms, once it is allowed

to occur.

       Similarly, once the government requires funding recipients to certify that they operate no

diversity, equity, or inclusion programs “that violate any applicable Federal anti-discrimination

laws” absent any explanation of what that means, the harm to recipients in the form of chilled

speech is immediate. Already, the administration has made clear that certain words associated

with diversity, equity, and inclusion in any form are prohibited. See supra at 5-6. This is not mere

semantics—they cover the very purpose of the work that CWIT does under its federal grants.

Based on the communications from DOL and a CWIT pass-through entity, the current

administration appears to consider CWIT to be in noncompliance with the anti-diversity EOs,

though all of its work is and remains lawful under existing anti-discrimination laws. Again, there

is no adequate legal remedy for these harms. Int’l Ass’n of Fire Fighters, Local 365 v. City of

East Chicago, 56 F.4th 437, 453 (7th Cir. 2022) (First Amendment harms were “serious injuries

that money damages cannot remedy”).

       C.      Absent a TRO, the harm CWIT and other funding recipients are already
               experiencing as a result of the EOs would be imminently further
               compounded.

       Both the DOL and a CWIT pass-through entity have undertaken actions to eliminate

diversity, equity, and inclusion efforts, or language discussing diversity, equity, and inclusion

without any consideration of whether CWIT’s programming was “illegal” or inconsistent with

federal antidiscrimination laws. As detailed above, within days of the issuance of the anti-

diversity EOs, the DOL sent communications instructing CWIT to remove diversity, equity, and


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inclusion from the programs it was administering. PI Vellinga Decl. ¶¶ 39-46. The pass-through

entity, for which CWIT is a sub-recipient, also requested modifications to materials in response

to the government’s demands that references to diversity, equity, and inclusion be removed.

Suppl. Vellinga Decl. ¶¶ 14, 15.

       With no injunction against the anti-diversity EOs in place, the anti-diversity EOs require

the DOL to resume its ambiguous and unconstitutional demands against grant recipients to

eliminate all programming related to diversity, equity, and inclusion, under threat of penalties,

including grant termination, by March 21, 2025. Given the nature of CWIT’s programming and

the work funded by its grants, the vagueness of the EOs puts CWIT in an untenable position.

CWIT cannot remove all words conceivably or even tangentially associated with diversity,

equity, and inclusion—such as “women” or “female”—from its materials and still fulfill its

obligations under the grants. Moreover, any list of words could change given that there is no

existing guidance and that different individuals at the DOL and other agencies may have

different interpretations as to what words do or do not need to be removed or what would be

discriminatory activities. This is true today and it will be true tomorrow.

       To the extent the government argues the anti-diversity EOs prohibit only conduct that

violates existing federal anti-discrimination laws—an argument the government has made in

other litigation challenging the anti-diversity EOs—the argument rings hollow. Discrimination

that violates federal law was unlawful before the anti-diversity EOs were issued. The anti-

diversity EOs must have some purpose and the various attacks on diversity, equity, and inclusion,

including the removal of names and links and so on, establish they do.

       Moreover, the anti-diversity EOs expressly state that this administration believes that all

DEI programs generally are illegal and immoral. The J20 EO describe actions taken by the Biden




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Administration as “illegal and immoral” DEI, indicating that actions that are lawful would not be

treated as lawful under this EO. “The Biden Administration forced illegal and immoral

discrimination programs, going by the name ‘diversity, equity, and inclusion’ (DEI), into

virtually all aspects of the Federal Government….” J20 EO, § 1.

       Section 3(c)(ii) of the J21 EO likewise states that all DEI programs are improper,

requiring the Director of the Office of Management and Budget to “[e]xcise references to DEI

and DEIA principles, under whatever name they may appear, from Federal acquisition,

contracting, grants, and financial assistance procedures….”, and then revoking (J21 EO at § 3)

certain prior executive actions, describing them as “illegal discrimination,” including “Executive

Order 12898 of February 11, 1994 (Federal Actions to Address Environmental Justice in

Minority Populations and Low-Income Populations)” and “Executive Order 13672 of July 21,

2014 (Further Amendments to Executive Order 11478, Equal Employment Opportunity in the

Federal Government, and Executive Order 11246, Equal Employment Opportunity).” As

evidenced by the termination of these Executive Orders, the anti-diversity EOs reference to DEI

and DEIA goes far beyond programs that actually violate the civil rights laws; rather, it

encompasses all DEI/DEIA programs (whatever that means).

III.   CWIT IS LIKELY TO SUCCEED ON THE MERITS OF ITS COMPLAINT

       CWIT is likely to succeed on the merits. See Plaintiff’s PI Memo. 8-13. The anti-diversity

EOs (1) violate the First Amendment by being unconstitutionally overbroad, discriminating on

the basis of viewpoint, and imposing unconstitutional conditions; (2) are unconstitutionally

vague in violation of the Fifth Amendment; and (3) violate the separation of powers and the

Spending Clause. CWIT respectfully requests that the Court refer to the papers supporting the

motion for preliminary injunction (Dkt. No, 26), as well as the Supplemental Declaration

submitted herewith.


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IV.     THE GOVERNMENT SUFFERS NO COUNTERVAILING HARM IF THE
        COURT GRANTS THIS TRO

        There is no legitimate countervailing harm the government can articulate that counsels

against the issuance of a temporary restraining order. The funding for CWIT’s grants at issue has

been duly authorized by Congress via statute, and the award of grants approved by DOL. And to

date, upon information and belief, DOL has not undertaken any analysis of whether any of

CWIT’s activities promoting diversity, equity, or inclusion are “illegal” by dint of judicial

opinion or a Congressionally enacted statute. DOL has only attempted to end them writ large.

         Rather than identify exactly what diversity, equity and inclusion programs actually

violate the law, the EOs turn this process on its head by declaring them all illegal without any

baseline definition for what it legal—which places the onus on grant recipients to prove legality

definitively without any definitions or suffer the extreme and irreparable consequences. Indeed,

the anti-diversity EOs are in this regard, ex pos facto in their impact because they declare to be

legal, that which is not currently so.

V.      PUBLIC INTEREST AND HARM TO CWIT WEIGH IN FAVOR OF A
        TEMPORARY RESTRAINING ORDER PENDING RESOLUTION OF CWIT’S
        PRELIMINARY INJUNCTION MOTION

        “[I]njunctions protecting First Amendment freedoms are always in the public interest.”

Am. C.L. Union of Illinois v. Alvarez, 679 F.3d 583, 590 (7th Cir. 2012) (citation omitted);

Grossbaum v. Indianapolis-Mario Cnty. Bldg. Auth., 63 F.3d 581, 585 (7th Cir. 1995) (stating

that deciding whether a restriction was viewpoint discrimination was “surely in the public

interest”).

        Moreover, a TRO to prevent the loss of CWIT’s programs is in the public interest.

Among the immediate harms would be the loss of CWIT’s nationwide, trade-specific

apprenticeship program, which helps women obtain employment in union apprenticeship



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programs in the skilled trades. These programs address the very needs of the modern workforce

that were identified by Congress when it allocated funds for these grants in the first instance. See

Plaintiff’s PI Memo 5-7 (referencing enabling statutes).

VI.    DUE TO THE CONSTITUTIONAL RIGHTS AT ISSUE, THE SCOPE OF THE
       INJUNCTIVE RELIEF SHOULD BE AGAINST THE GOVERNMENT
       NATIONWIDE OR, IN THE ALTERNATIVE, AGAINST THE DEFENDANTS
       AS PERTAINING TO CWIT

       For the same reasons as argued in support of the preliminary injunction, the temporary

restraining order should be nationwide in scope. “CWIT has provided technical assistance and

gender equity training to industry stakeholders in all 50 states.” PI Vellinga Decl. ¶15. Moreover,

the nature, extent, and impact of the constitutional violation here spans the country. Thus, this

case “presents an example of the type of case in which a district court should properly be able to

apply an injunction nationwide.” City of Chicago v. Sessions, 888 F.3d 272, 290 (7th Cir. 2018);

see also Texas v. United States, 809 F.3d 134, 188 (5th Cir. 2015) (upholding nationwide

injunction in immigration context). In upholding a similar nationwide injunction, the Sessions

Court focused on “the purely legal nature of the issue here, the broad and uniform impact on all

grant recipients, [and] the minimal harm to the Attorney General….” Id. at 293. Here, each of

these factors weigh in favor of the requested nationwide relief. The same is true for the

temporary restraining order.

       A nationwide injunction is appropriate here based on the showing of likelihood of success

on the merits of the constitutional claims. The anti-diversity EOs’ chilling effects on speech

impact every organization across the country that described diversity, equity, and inclusion

efforts before the EOs’ issuance and is compelled by the terms of the EOs’ to self-censor its

statements or lose its federal funding. Each grant recipient and subrecipient has already suffered




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and will continue to suffer constitutional violations to its free speech rights as a direct result of

the anti-diversity EOs.

        An injunction that extends to non-parties may be particularly “appropriate” where, as

here, “the government relies on a ‘categorical policy,’ and when the facts would not require

different relief for others similarly situated to the plaintiffs.” HIAS Inc. v. Trump, 985 F.3d 309,

326 (4th Cir. 2021) (quoting Trump v. Int’l Refugee Assistance Project, 582 U.S. 571, 580

(2017)). The anti-diversity EOs meet this test. Moreover, “[o]nce a constitutional violation is

found, a federal court is required to tailor the scope of the remedy to fit the nature and extent of

the constitutional violation.” Hills v. Gautreaux, 425 U.S. 284, 293-94 (1976) (citations and

internal quotation marks omitted). “It is not beyond the power of a court, in the appropriate

circumstances, to issue a nationwide injunction.” Texas Top Cop Shop, Inc. v. Garland, 2024 WL

5049220, at *35 (E.D. Tex. Dec. 5, 2024) (quoting Texas v. United States, 809 F.3d 124, 188 (5th

Cir. 2015)). Here, the scope of the constitutional violation is nationwide and affects all similarly

situated grant recipients and sub-recipients. The scope of the restraining order should match the

scope of the constitutional violations.

        In the alternative, CWIT requests that the Court grant a TRO as to the Defendants and

their actions pertaining to CWIT. As demonstrated above, without such relief, CWIT will

continue to suffer ongoing violations of its free speech and due process rights, while the

imminent termination of its grants is almost certain to occur absent a TRO to maintain the status

quo, at least as to the grant funding.

        With the government suffering no immediate harm, and with CWIT’s irreparable,

immediate, and imminent harm, coupled with the weight of public interest in favor of protecting

free speech, the balance of harms tips heavily in favor of granting the TRO.




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                                         CONCLUSION

       For these reasons, CWIT respectfully requests that the Court grant its request for a

temporary restraining order that precludes any and all federal agencies from taking action

adverse to a federally funded contract, grant, or other implementing vehicle, where that action is

animated by the anti-diversity EOs. Alternatively, CWIT requests the Court enter an injunction

prohibiting DOL from (1) taking any adverse action animated by the anti-diversity EOs on any of

the federal grants by which CWIT receives funding, as either a grant recipient, sub-recipient, or

subcontractor; and (2) directing any other grant recipient or contractor under which CWIT

operates as a sub-recipient or subcontractor from taking any adverse action on any of those

grants on the basis of the anti-diversity EOs.

       CWIT further requests that the briefing schedule on the preliminary injunction motion be

accelerated and that the motion be adjudicated during the pendency of this Court’s temporary

restraining order.




 Dated: March 18, 2025                                          Respectfully Submitted,


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*Pro hac vice motion forthcoming




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